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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 UNIVERSITAS EDUCATION, LLC

                                Plaintiff,          CASE NO. 3:20-cv-00738-JAM
 v.

 BENISTAR, ET AL.

                                Defendants.


                                              NOTICE

       Universitas Education, LLC (“Universitas”) is entitled to recover attorneys’ fees from Grist

Mill Partners, LLC (“GMP”) regarding the discovery “dispute” that necessitated Universitas’

motion to compel. See FED. R. CIV. P. 37(a)(5)(A) (concerning sanctions for discovery produced

after motion to compel same discovery); FED. R. CIV. P. 37(b)(2) (concerning sanctions for non-

compliance with discovery order). Universitas hereby reserves its right to recover all such fees.

       There are additional “disputes” between GMP and Universitas that the parties are

attempting to resolve and for which Universitas is entitled to recover attorneys’ fees. Universitas

intends to file a single application for all fees from all discovery “disputes” upon the resolution of

such “disputes,” and will incorporate the fees from its motion to compel within this application.

Dated: November 4, 2021
      Alexandria, VA


                                               PLAINTIFF UNIVERSITAS EDUCATION, LLC

                                               By: /s/ Joseph L. Manson III                   /
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                                                Admitted Pro Hac Vice

                                                Attorney for Universitas Education, LLC




                                         CERTIFICATION

I hereby certify that on November 4, 2021 a copy of foregoing notice was filed electronically.
Notice of this filing will be sent by e-mail to all parties by operation of the Court's electronic filing
system. Parties may access this filing through the Court's CM/ECF System.

                                                                /s/ Joseph L. Manson III




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